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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA



                                     19-cr-60259-Altonaga/Seltzer
                       CASE NO.
                                    --------------
                                        18 U.S.C. § 844(f)(l)
                                        26 U.S.C. § 5861( d)



 UNITED STATES OF AMERICA                                                          SP
 v.
                                                                        Sep 17, 2019
 CELLICIA LATOYA HUNT,
                                                                                        West Palm Beach
        Defendant.
 -------------
                                        I

                                            INDICTMENT

        The Grand Jury charges that:

                                            COUNT 1
                    (Maliciously Attempt to Damage a Federal Building by Fire)

        On or about August 30, 2019, in Broward County, in the Southern District of Florida, the

 defendant,

                                   CELLICIA LATOYA HUNT,

 did maliciously attempt to damage by means of fire a building in whole and in part possessed by

 and leased to the United States Citizenship and Immigration Services, a department and agency of

 the United States, in violation of Title 18, United States Code, Section 844(±)(1 ).
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                                            COUNT 2
                              (Possession of an Unregistered Firearm)

         On or about August 30, 2019, in Broward County, in the Southern District of Florida, the

  defendant,

                                  CELLICIA LATOYA HUNT,

 did knowingly possess a firearm, that is, a destructive device, not registered to her in the National

 Firearms Registration and Transfer Record, knowing the specific characteristics and features of

 such destructive device that required that it be registered in the National Firearms Registration and

 Transfer Record, which specific characteristics and features included that it was an incendiary

 bomb including a breakable container, a flammable liquid, and a wick composed of a material

 which, when ignited, was capable of igniting such flammable liquid, and could be carried and

 thrown by one individual acting alone, in violation of Title 26, United States Code, Sections

 586l(d) and 5871.




   / j ~ 7,
 WILLIAM T. SHOCKLEY
                           44
 ASSISTANT UNITED STATES ATTORNEY




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                                                  UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF FLORIDA

                                                                                 19-cr-60259-Altonaga/Seltzer
UNITED STATES OF AMERICA                                          CASE NO. _ _ _ __ _ _ _ _ _ __ _ _ __
  v.
                                                                  CERTIFICATE OF TRIAL ATTORNEY*
CELLICIA LATOYA HUNT,
                                                                  Superseding Case Information:
                                  Defendant.

Court Division: (Select One)                                      New defendant(s)             Yes       No
       Miami                 Key West                             Number of new defendants
 ✓     FTL                   WPB               FTP                Total number of counts

         1.       I have carefully considered the allegations of the indictment, the number of defendants, the number of
                  probable witnesses and the legal complexities of the Indictment/Information attached hereto.
        2.        I am aware that the information supplied on this statement will be relied upon by the Judges of this
                  Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                  Act, Title 28 U.S.C. Section 3161.
         3.       Interpreter:    (Yes or No)            No
                  List language and/or dialect           _E_n--'--g'-li_sh_ _ _ _ __
         4.       This case will take _3_ days for the parties to try.
         5.       Please check appropriate category and type of offense listed below:

                  (Check on ly one)                                         (Check only one)


                                                     ✓
        I         0 to 5 days                                               Petty
        II        6 to 10 days                                              Minor
        III       11 to 20 days                                             Misdem.
        IV        21 to 60 days                                             Felony             ✓

        V         61 days and over
        6.       Has this case previously been filed in this District Court?     (Yes or No) No
         If yes: Judge                                     Case No.
                                                                      - - - - -- -- - - - - - -
         (Attach copy of dispositive order)
         Has a complaint been filed in this matter?         (Yes or No)      Yes
         If yes: Magistrate Case No.                         l 9-mi-06420-LSS
         Related miscellaneous numbers:
         Defendant(s) in federal custody as of              August 30. 2019
         Defendant(s) in state custody as of
         Rule 20 from the District of
            Is this a potential death penalty case? (Yes or No)

            7.     Does this case originate from a matter pending in the Central Region of the U.S . Attorney's Office
                   prior to August 9, 2013 (Mag. Judge Alicia 0. Valle)?           Yes               No 1

            8.     Does this case originate from a matter pending in the Northern Region U.S. Attorney's Office
                   prior to August 8, 2014 (Mag. Judge Shaniek Maynard)?           Yes            No 1



                                                                             ~z-44
                                                                             WILLIAM T. SHOCKLEY
                                                                             ASSISTANT UNITED STATES ATTORNEY
                                                                             Court No. A5500088
 *Penalty Sheet(s) attached                                                                                     REV 8/1 3/201 8
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     PENAL TY SHEET



Defendant's Name: CELLICIA LATOYA HUNT
            19-cr-60259-Altonaga/Seltzer
Case No:
            ---------------
Counts 1:

                                           of the United States b Fire
                                            1

*Max. Penalty:               Mandator minimum term of im risonment of not less than 5 ears and a
                             maximum of a 20- ear term of im risonment- $250 000 fine· and a term of
                             supervised release not more than 3 years



Counts 2:

Possession of an Unregistered Destructive Device
Title 26, United States Code, Section 5861(d)

*Max. Penalty:               Maximum term of imprisonment of not more than 10 years; $250,000 fine;
                             and a term of su ervised release not more than 3 ears



**Refers only to possible term of incarceration, does not include possible fines, restitution, special
assessments, parole terms, or forfeitures that may be applicable.
